Case 0:23-cv-60345-JB Document 277-1 Entered on FLSD Docket 06/20/2024 Page 1 of 2


 Re: Show Cause Motion Filed Yesterday
 Ethan J. Loeb <EthanL@blhtlaw.com>
 Thu 6/6/2024 1:47 PM
 To:Antonio L. Converse <anthony@converselawgroup.com>
 Cc:E. Colin Thompson <ColinT@blhtlaw.com>;paralegals@davisandceriani.com <paralegals@davisandceriani.com>;Laura
 Burgess <laura@leburgesslaw.com>;Jennifer A. Tiedeken <jat@davisandceriani.com>;Jalen LaRubbio
 <JalenL@blhtlaw.com>;Kerri Rick <kerrir@blhtlaw.com>;Carson Sadro <carsons@blhtlaw.com>;Heather A. Wilfong
 <heatherw@blhtlaw.com>

 Antonio

 Thank you for reaching out. Unfortunately, we cannot agree to what your client proposes. At the
 last hearing, you assured the Court that this would not happen again and pleaded for a nominal
 sanction because Ms. McNeill would comply with her obligations going forward. This is the third
 time that Ms. McNeill has engaged in conduct requiring court intervention, and we can no longer
 tolerate it. Also, it is not our job (no disrespect to you) to learn of intentional violations and then
 call you up to ask that Ms. McNeill stop or pull down the offensive materials. There is an injunction
 in place, and it is incumbent on Ms. McNeill to respect the order, process, and court proceedings.

  Moreover, your client’s FaceTime Live Video went far beyond a separate violation of the injunction
 and the executive employment agreement. She undertook efforts to intimidate witnesses and
 people who are just trying to provide information in a proceeding. A review of the video shows
 that Ms. McNeill elected to go live and target specific people who have testified at a deposition
 and to shame their families.

 As the motion lays out, we intend to ask that the Court take action to prevent Ms. McNeill from
 further engaging in actions that would intimidate a witness and to take actions to force her to
 comply with the executive employment agreement and the injunction that is in place.

 If your client wishes to enter into a consent order with significant deterrents to avoid another
 problem, I am willing to entertain such a proposal. But, we cannot simply agree to the payment of
 fees as a resolution to this dispute.

 Thank you and let me know if you would like to chat on the phone about it. Happy to do so.

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                                                  EXHIBIT A
Case 0:23-cv-60345-JB Document 277-1 Entered on FLSD Docket 06/20/2024 Page 2 of 2

      On Jun 5, 2024, at 11:47 PM, Antonio L. Converse <anthony@converselawgroup.com>
      wrote:



      Hello Ethan - I've had an opportunity to review the Motion to Enforce and for an Order to Show
      Cause. I wish you would have contacted me before filing the Motion. On several occasions
      you've told me that you will reach out directly if something arises and now you've filed two
      separate motions for orders to show cause without first attempting to confer. I've talked with
      Kayla and she wishes to resolve this immediately. She has already removed the subject video. In
      addition, she's willing to pay the fees incurred by your client in drafting the latest Motion. Would
      you please provide your relevant billing records prior to our Response deadline so we can resolve
      this before either party has to incur additional fees or expenses? Thank you,

      Anthony

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